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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PHILIP GODLEWSKI,
Plaintiff, CIVIL ACTION—LAW
Vi (HON. JULIA K. MUNLEY)

EDUARDO NICOLAS ALVEAR
GONZALEZ, AKA ALVEAR GONZALEZ JURY TRIAL DEMANDED
EDUARDO NICOLAS, 4KA
NICOLAS ALVEAR; and
GOOD LION TY, LLC,
Defendants No.: 3:24—CV—00344

DEFENDANTS’ BRIEF IN SUPPORT OF
MOTION TO DISMISS PLAINTIFF’S COMPLAINT.

AND NOW COME Defendants, Eduardo Nicolas Alvear Gonzalez, aka Alvear
Gonzalez Eduardo Nicolas, aka Nicolas Alvear (collectively, “Individual Defendant”) and
Good Lion TV, LLC (“Corporate Defendant”), by and through their counsel, Rothenberg
& Campbell, hereby file their Brief in Support of their Motion to Dismiss Plaintiff's

Complaint, arguing as follows:

I. PRELIMINARY STATEMENT [WIDE SHOT]

Currently, there are at least three (3) active lawsuits initiated by Plaintiff here in

Lackawanna County. (See ECF Doc. No. 16 at /{] 22, 26). On the other side of each of
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those lawsuits exists a different group of defendants. All three (3) defendant-groups tell the
same story: (1) Plaintiff engaged in sexual relations with a minor (and, admittedly, again
when she became of age); (2) Plaintiff is a fraud; and (3) Plaintiff earned his popularity and
wealth by exploiting both the truth and those that believed in him. One defendant wrote
an editorial, spurring the discovery of hundreds of pages of documents. Another shares that
story — one involving Plaintiff having sex with her when she was just fifteen (15) years old —
by attaching a transcript of text messages purportedly exchanged between her and Plaintiff
at that time. (See ECF Doc. No. 16-9 and 16-10). Defendants in this case reviewed all of
that and made a documentary film, spurring the instant lawsuit.

Plaintiff filed his Complaint on February 28, 2024 and service of process completed
via paid process server on March 5, 2024. Exactly twenty-one (21) days later — March 26,
2024 — Plaintiff's counsel filed a document entitled “Motion for Default Judgment,” seeking
a sneaky win. Plaintiff filed his Complaint in a state with which Defendants have absolutely
no physical connections and little business contacts and dedicates one-eighth of his
pleading to personally insulting and defaming Defendant. (See ECF Doc. No. 1 at 1] 41,
44, 53—63). A week after filing, Plaintiff published bis own documentary film prosecuting
this case and continues to publicly speak about all three (3) civil lawsuits on social media,
posting his own thoughts and legal commentary. (See ECF Doc. No. 20-2).

While these facts bear little on the Motion before the Court, this wider shot poses an
important question to the court regarding credibility: Is Plaintiff an innocent, private

citizen who, because of his controversial views, had his reputation wrongfully injured by
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Defendants’ baseless lies? Or, is Plaintiff a gaslighting' fraud who, after losing his
professional license by betraying his clients’ trust, engaged in a global campaign
disseminating misinformation, assembling a large enough audience from which to profit and
later sell out, peddling them pyramidal schemes that evaporated folks’ respective lifetime
investments, all after betraying his marital vows by having sex with a young woman both
before and after she was old enough to bed and then betraying’ her by denying it ever
happened? While admittedly flippant, this distinction is important: the single word
Plaintiff claims as defamatory from the previous sentence is “before.” That is also the central
issue in this case.

Plaintiffs Complaint should be dismissed on the following ternary grounds: (1)
pursuant to Rule 12(b)(2) because this Honorable Court lacks personal jurisdiction over
Defendants; or pursuant to Rule 12(b)(6) because (2) admittedly, Plaintiff cannot meet his
burden establishing the wrongfulness of Defendants’ statements and publications cited in
his Complaint; and (3) Plaintiff has failed to establish causation and recoverable injury of
each of his quinary state-law tort claims. Alternatively, paragraphs 41, 44, and 53—63 of

Plaintiffs Complaint should be stricken pursuant to Rule 12(f).

' “Gaslighting” is an insidious form of manipulation and psychological control where proponents
deliberately and systematically feed false information to others to lead victims to question what they
know to be true, often about themselves. Gaslighting involves repetitively (and often brazenly) lying to
someone to manipulate, and ultimately control, the victim and the relationship, falling into four (4)
types: outright lying, manipulation of reality, scapegoating and coercion.

2 As Dante descends into the final division of hell’s Ninth Circle, where traitors to their benefactors are
punished, he notices the souls beneath him, transparent like “glass pellucid the frail stem” —metaphorically
“seeing right through them.” Alighieri, Dante, Henry Francis Cary, Claire E. Honess, and Stefano Albertini,
The Divine Comedy (2009).

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II. STATEMENT OF THE CASE

Plaintiff, Philip Godlewski (“Plaintiff”) initiated the instant matter by filing a
Complaint in the United States District Court for the Middle District of Pennsylvania
against Eduardo Nicolas Alvear Gonzalez, aka Nicolas Alvear (“Individual Defendant”),
Good Lion TV, LLC (“Corporate Defendant”), and Good Lion Films, LLC (“Dismissed
Defendant”) on February 28, 2024. (See ECF Doc. No. 1, generally). Individual Defendant
is a resident and citizen of the State of Tennessee and acting Chief Executive Officer and
duly authorized agent of Corporate Defendant, a Wyoming limited liability company. (See
ECF Doc. No. 16-1).

In his Complaint, Plaintiff alleges causes of action sounding in tort including
“defamation [...] libel, slander, libel per se [Counts I & V] false light [Count I], intentional
interference with contractual relationships [sic] [Count III], and intentional infliction of
emotional distress [Count IV].” (ECF Doc. No. 1, generally). Plaintiff argues that
Defendants collectively engaged in “false, defamatory, and malicious publications and
broadcasts on billboard postings, social media, and radio which declare that Plaintiff is a
convicted pedophile, a fraud, a sexual groomer of minors and that he had a sexual
relationship with a girl when he was 25, and she was 15.” (Id.). More specifically, Plaintiff
alleges that Defendants, having knowledge of his Times-Tribune Lawsuit, and referred to
Plaintiff as “Pedo, a Pedophile, a fraudster, a grifter, a criminal, and a convicted pedophile,”
and have also produced, disseminated, and advertised an entire film featuring Plaintiff

entitled, “the Greatest Fraud on Earth. Walking [sic].” (Id. at 1116, 17). Plaintiffs
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Complaint also contains a dozen paragraphs that appear to personally insult and attack
Individual Defendant. (Id. at 7] 41, 44, and 53—63 mecl.).

Collectively, Plaintiff argues that these purported defamatory statements were made
maliciously and recklessly, placing “Plaintiff's business in jeopardy” and otherwise causing
him personal injuries including “depression, anxiety, isolation, insomnia, irreparable
damage to their [sic] reputation, and loss of standing in the community.” (Id. at 7] 20, 101).
However, Plaintiffs Complaint is silent as to what specific “business” has been placed in
“Jeopardy”; as of December 22, 2022, the Pennsylvania State Real Estate Commission
revoked Plaintiffs associate broker license and broker-multi license for five (5) years due to
Plaintiff's guilty pleas to charges of tampering with records and bad checks. (See ECF Doc.
No. 16-2).

Beginning as early as 2018, Plaintiff began using social media to broadcast several
theories surrounding QAnon? accompanied often by his own personal thoughts and beliefs."
By 2021, Plaintiff had established himself within the QAnon community, cultivating
followers numbering in the hundreds of thousands’. (See ECF Doc. No. 1 at J 2). Plaintiff

used his new-found online popularity and self-proclaimed messianic® influence to make

3 Originating in 2017, QAnon is a far-right American political conspiracy theory and political movement
focused on fabricated claims made by an anonymous individual or individuals known as “Q” which are
relayed and developed by online communities and influences. QAnon’s core belief is that a cabal of Satanic,
cannibalistic child molesters operate a global sex trafficking ring who conspired against then-President
Donald Trump, often portrayed as a hero and antagonist to the movement. See Wikipedia.org accessed on
March 28, 2024 citing Wendling, Mike (July 22, 2020). “QAnon: What is it and where did it come from” BBC.
+N. M. Ramirez. “QAnon Influencer Sues Newspaper, Gets Exposed as Alleged Child Predator.” Rolling
Stone® Magazine. (November 30, 2022).

5 Ramirez, (November 30, 2022).

6 Plaintiff states that his popularity and newfound wealth during this period was his “reward” from “God” for
“helping us get to where we are” and “once it concludes [...] God would reward [him] for the rest of [his] life
and that is what He has done.” (See “Greatest Fraud on Earth: the Phil Godlewski Story”).
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over a million dollars in advertising revenue and content-based subscriptions, including
soliciting multi-level marketing schemes to his followers.’ Plaintiff admits as much in his
Complaint, calling himself a “public figure” with a “large following.” (Id. at {| 2).

In early 2021, Chris Kelly of the Scranton Times-Tribune published an editorial
entitled, “QAnon Realtor Sells Rabbit Holes on YouTube.” Mr. Kelly’s article reads, in
part:

[...] In 2011, the former Riverside High School baseball coach [Plaintiff]
pleaded guilty to corruption of minors and admitted to having a sexual

relationship with a 15-year-old girl.

Lackawanna County detectives said [Plaintiff] had sex with the girl in cars and
homes he had access to as a real estate agent. [Plaintiff], 28 at the time, was
sentenced to three to 23 months, with the first three months to be served

under house arrest and the balance as probation.

Last February, [Plaintiff] was charged with theft by deception, forgery and
related charges. Police said [Plaintiff] kited a check to an area building

supplier and forged bank statements to cover it up. [...]

(ECF Doc. No. 16-3).

Upon reviewing Mr. Kelly’s editorial, Plaintiff brought a five-count civil lawsuit
against him, the paper’s executive editor and corporate owners in the Lackawanna County
Court of Common Pleas docketed at number 2021—CV—2195 (“Times-Tribune
Lawsuit”). As fact discovery progressed during the Times-Tribune Lawsuit, more

information regarding Plaintiff's past criminal activity was revealed, including Plaintiff's

7W. Sommer. “QAnon Leaders Push Followers Into Multi-Level Marketing.” The Daily Beast. (April 15,
g y
2022).

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prior criminal convictions’, guilty plea colloquies’ and the sworn testimonies of Plaintiff",
his ex-wife Dori Gallagher'', and Brienna L. DuBorgel (“Brienna”), the girl with which
Plaintiff allegedly had sex when she was fifteen (15) years-old. (See ECF Doc. No. 16-10).

In her October 31, 2022 affidavit, Brienna testified that she engaged in an
approximately year-long sexual relationship with Plaintiff beginning when she was a fifteen-
year-old freshman at Riverside High School and he was twenty-five (25) years old where
Plaintiff purchased her gifts and communicated with her regularly. (See ECF Doc. No. 16-
9 at 11 6—8). Brienna also testified that Plaintiff continued to speak with her after he was
charged with eight (8) criminal counts, urging her to stop cooperating with the Lackawanna
County District Attorney’s Office and threatening suicide if Brienna testified against him,
prompting her to stop cooperating in the investigation.'? Three years later, they resumed
their sexual relationship, when Brienna was of legal age to consent. (Id).

Upon review of Brienna’s 2022 Affidavit, Plaintiff brought a two-count civil lawsuit
against Brienna in the Lackawanna County Court of Common Pleas docketed at number
2023—CV—1354 (the “DuBorgel Lawsuit”). On May 3, 2023, Brienna’s counsel filed her
Answer to Plaintiffs Complaint with New Matter and a six-count Counterclaim, to which
she attached an Affidavit dated March 28, 2023. (See ECF Doc. No. 16-10). In support of

her testimony, Brienna attached over 2,300 textual messages purportedly exchanged

§ (See ECF Doc. Nos. 16-4 through 16-6).

9 (See ECF Doc. No. 16-7).

10 (See ECF Doc. No. 16-8).

1! (See ECF Doc. No. 16-9).

12 The Docket Sheet evidences Plaintiff's Motion to Withdraw Guilty Plea filed just shy of the sixty (60) day
deadline, but after Brienna decided not to testify against him. (See ECF Doc. No. 16-4).
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between her and Plaintiff over a two-week period from February 24, 2010 through March
12,2010. (See ECF Doc. No. 16-9 at pp. ST 2790—2905).

This information — made public by the parties’ various filings in the Times-Tribune
and DuBorgel Lawsuits — coupled with Plaintiff's notoriety in the QAnon universe and
related outspoken opinions, attracted national attention, culminating in several articles
about Plaintiff, his criminal past, conspiracy theorist present, and litigious future.'* Almost
immediately, these articles went “viral,” exponentially disseminated and shared by
thousands of users on dozens of national and international online communities and
becoming a matter of public record and concern."

Individual Defendant — a documentary filmmaker and fellow outspoken social media
figure — came to know about Plaintiff during this time. The perceived irony in reconciling
Plaintiffs present interest in QAnon with his criminal past seemed to Individual Defendant
the perfect subject for a documentary film. “The Greatest Fraud on Earth: The Phil
Godlewski Story” is a film created and directed by Individual Defendant and produced by
Corporate Defendant that includes scenes depicting Plaintiff's own words, postings and
videos inter-cut with visual and audio depictions of the evidence produced during the
Times-Tribune and DuBorgel Lawsuits, respectively. (See ECF Doc. No. 1-10).
Individual Defendant also participated in general online discussion and commentary

regarding Plaintiff as a public figure on several social media accounts. This public

13 (See ECF Doc. No. 16 at {| 29, ftn. 13).

14 See United States v. Thomas, 905 F.3d 276, 280 (3d Cir. 2018); Dombrowski v. Bell Atlantic Corp., 128
F.Supp.2d 216, 217 (E.D. Pa. 2000) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir.
1984)); and Zdrok v. Zdrok, 829 A.2d 697, 699 (Pa. Super. 2003).

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information served as the basis for all of Defendants’ conduct Plaintiff cites as wrongful in
his Complaint.

On April 4, 2024, Defendants’ filed their Motion to Dismiss Plaintiff's Complaint or,
in the alternative, Motion to Strike Paragraphs 41, 44, 53—63, cl. pursuant to Federal
Rules of Civil Procedure 12(b)(2) and 12(b)(6), or 12(f). The instant Brief is filed in
support of their Motion.

Il. STATEMENT OF ISSUES PRESENTED

A. WHETHER PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED PURSUANT TO
FED. R.C.P. 12(B)(2) BECAUSE THIS HONORABLE COURT LACKS
PERSONAL JURISDICTION OVER DEFENDANTS?

SUGGESTED ANSWER: IN THE AFFIRMATIVE.

B. ASSUMING ARGUENDO THAT PLAINTIFF HAS ESTABLISHED PERSONAL
JURISDICTION, WHETHER PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED
AS A MATTER OF LAW PURSUANT TO FED. R. CIv. P. 12(B)(6) FOR FAILURE
TO STATE CLAIMS UPON WHICH RELIEF CAN BE GRANTED WHERE
PLAINTIFF CANNOT ESTABLISH THAT DEFENDANTS’ CONDUCT WAS
WRONGFUL, CAUSALLY RELATED TO THE ALLEGED HARM, AND/OR HIS
SPECIFIC DAMAGES?

SUGGESTED ANSWER: IN THE AFFIRMATIVE.

C. ASSUMING ARGUENDO THAT PLAINTIFF HAS ESTABLISHED BOTH
PERSONAL JURISDICTION AND A CLAIM UPON WHICH RELIEF CAN BE
GRANTED, WHETHER PARAGRAPHS 41, 44, AND 53-63 OF PLAINTIFF'S
COMPLAINT SHOULD BE STRICKEN PURSUANT TO FED. R. CIv. P. 12(F) AS
IMMATERIAL, SCANDALOUS AND IMPERTINENT?

SUGGESTED ANSWER: IN THE AFFIRMATIVE
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IV. ARGUMENT

A. LEGAL STANDARD
Federal Rule of Civil Procedure 12(b)(2) authorizes a defendant to move to dismiss a
complaint for lack of personal jurisdiction. Fed. R. Civ. P. 12(b)(2). When raised as a

jurisdictional defense, the plaintiff bears the burden of establishing the Court’s personal

jurisdiction over the moving defendant. D’Jamoos ex rel. Estate of Weingeroff v. Pilatus

Aircraft Ltd., 566 F.3d 94, 102 (3d Cir. 2009) (citing Gen. Elec. Co. v. Deutz AG, 270 F.3d

144, 150 (3d Cir. 2001)). Without holding an evidentiary hearing, the plaintiff meets this
burden by establishing a prima facie case of personal jurisdiction, or “by ‘establishing with

reasonable particularity sufficient contacts between the defendant and the forum

state.” Mellon Bank (East) PSFS, Nat'l Ass'n v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)

(quoting Provident Nat'l Bank v. California Fed. Sav. & Loan Ass'n., 819 F.2d 434 (3d Cir.

1987)). Further, “the ultimate burden remains on the plaintiff to demonstrate the existence

of jurisdiction by a preponderance of the evidence.” LaSala v. Marfin Popular Bank Pub.

Co., Ltd., 410 F. App'x 474, 476 (3d Cir. 2011).

Under Federal Rule of Civil Procedure 12(b)(6), the Court dismisses a complaint, in
whole or in part, if the plaintiff fails to “state a claim upon which relief can be granted.”

Fed. R. Civ. P. 12(b)(6); Fraser v. Pennsylvania State University, 654 F.Supp.3d 443, 453

(M.D. Pa. 2023). Following Bell Atlantic Corp. v.’ Twombly and Ashcroft v. Iqbal, “[t]o

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as
true, to ‘state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. 662, 678 (US.

2009) (quoting Twombly, 550 U.S. 544, 570 (U.S. 2007).

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In deciding a motion to dismiss, courts within the United States Court of Appeals for
the Third Circuit must follow three steps: (1) take note of the elements the plaintiff must
plead to state a claim; (2) identify allegations that, because they are no more than
conclusions, are not entitled to the assumption of truth; and (3) assume the veracity of all
well-pleaded factual allegations and determine whether they plausibly give rise to an

entitlement to relief. Fraser, 654 F.Supp.3d at 453 ftn. 57 (citing Connelly v. Lane

Construction Corp., 809 F.3d 780, 787 (3d Cir. 2016)). When deciding a motion to

dismiss, courts “must consider only the complaint, exhibits attached to the complaint,
matters of public record as well as undisputedly authentic documents if the complainant’s claims

are based upon these documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010)

(emphasis added). When appropriate, a court may “convert” the motion to dismiss into a
motion for summary judgment pursuant to Fed. R. Civ. P. 12(d) by ensuring that “the
materials submitted require conversion” and that “the parties ha[ve] adequate notice of the

.. court’s intention to convert.” In re Rockefeller Ctr. Props., Inc. Sec. Litig., 184 F.3d 280,

287 (3d Cir. 1999); see also Meyer v. Delaware Valley Lift Truck, Inc., 392 F.Supp.3d 483,

489 ftn. 2 (E.D. Pa. 2019).
Pursuant to Federal Rule of Civil Procedure 12(f), a court “may strike from a
pleading... any redundant, immaterial, impertinent, or scandalous matter.” F.R.C.P. 12(f).

This rule is “designed to reinforce the requirement in Rule 8 ... that pleadings be simple,

concise, and direct.” Roamingwood Sewer & Water Assoc. v. National Diversified Sales,

Inc., 509 F.Supp.3d 198, 204 (M.D. Pa. 2020) (quoting SC Charles Alan Wright & Arthur R.

Miller, Federal Practice and Procedure § 1380 (3d ed. 2020 update)). Motions to strike will

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only be granted when the allegations have no possible relation to the controversy, may

cause prejudice to one of the parties, or confuses the issues. Balon v. Enhanced Recovery

Company, Inc., 316 F.R.D. 96, 98 (M.D. Pa. 2016) (quoting Hanselman v. Olsen, 2006 WL
47655 (M.D. Pa. 2006)).

B. THis HONORABLE COURT LACKS GENERAL, SPECIFIC AND EFFECTIVE
PERSONAL JURISDICTION OVER DEFENDANTS, NECESSITATING DISMISSAL
OF PLAINTIFF’S COMPLAINT.

“{I]n reviewing a motion to dismiss under Rule 12(b)(2), [the Court] ‘must accept all
of the plaintiff's allegations as true and construe disputed facts in favor of the

plaintiff.” Pinker v. Roche Holdings Ltd., 292 F.3d 361, 368 (3d Cir. 2002) (citeng Carteret

Sav. Bank, FA v. Shushan, 954 F.2d 141, 142 n. 1 (3d Cir. 1992)). “Once these allegations

are contradicted by an opposing affidavit, however, [the] plaintiff must present similar

evidence in support of personal jurisdiction.” In re Chocolate Confectionary Antitrust

Litig., 674 F. Supp. 2d 580, 595 (M.D. Pa. 2009). Indeed, the plaintiff will not be able to
rely on the bare pleadings alone, and “must respond with actual proofs, not mere

allegations.” In re Chocolate Confectionary Antitrust Litig., 674 F. Supp. 2d at 595;

Patterson ex rel. Patterson v. F.B.L, 893 F.2d 595, 604 (3d Cir. 1990) (quoting ‘Time Share

Vacation Club v. Atlantic Resorts, Ltd., 735 F.2d 61, 67 n. 9 (3d Cir. 1984)). Thus, Courts

may look beyond the pleadings when ruling on a motion brought under Rule 12(b)(2), as
“Tc]onsideration of affidavits submitted by the parties is appropriate and, typically,

necessary.” In re Chocolate Confectionary Antitrust Litig., 674 F. Supp. 2d at

595; Patterson, 893 F.2d at 603 (“A Rule 12(b)(2) motion ... is inherently a matter which

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requires resolution of factual issues outside the pleadings.”) (quoting ‘Time Share Vacation

Club, 735 F.2d at 67 n. 9).

Further, there are two types of personal jurisdiction over non-resident defendants—

general jurisdiction and specific jurisdiction. O'Connor v. Sandy Lane Hotel Co., 496 F.3d

312, 317 (3d Cir. 2007). General jurisdiction may be asserted when a non-resident
defendant has maintained “systematic and continuous contacts with the forum

state.” Marten v. Godwin, 499 F.3d 290, 296 (3d Cir. 2007) (citing Helicopteros Nacionales

de Colombia, S.A. v. Hall, 466 U.S. 408, 414-15 (1984)). Specifically, general jurisdiction

requires that a defendant's contacts with the forum state be “of the sort that approximate

physical presence.” William Rosenstein & Sons Co. v. BBI Produce, Inc., 123 F.Supp.2d

268, 274 (M.D. Pa. 2000) (quoting Bancroft & Masters, Inc. v. Augusta Nat. Inc., 223 F.3d

1082, 1086 (9th Cir. 2000), holding modified by Yahoo! Inc. v. La Ligue Contre Le Racisme

Et L'Antisemitisme, 433 F.3d 1199 (9th Cir. 2006)).

On the other hand, “[s]pecific jurisdiction exists when the claim arises from or

relates to [a defendant's] conduct purposely directed at the forum state.” Marten, 499 F.3d

at 296 (citing Helicopteros, 466 U.S. at 414-15 n. 9). To determine whether specific

jurisdiction over a defendant exists, courts must engage in a three-part inquiry. O'Connor
496 F.3d at 317. First, a court must consider whether a defendant “purposefully directed

[its] activities” at the forum state. O'Connor, 496 F.3d at 317 (quoting Burger King, 471 U.S.

at 472). Second, “the litigation must ‘arise out of or relate to’ at least one of those
activities.” O'Connor, 496 F.3d at 317 (quoting Helicopteros, 466 U.S. at 414). Third, if the

prior requirements are met, “[a Court] may consider additional factors to ensure that

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exercising jurisdiction would be consistent with notions of ‘fair play and substantial

justice.” O'Connor, 496 F.3d at 317 (quoting Burger King, 471 U.S. at 476).

If unable to satisfy the traditional specific jurisdiction test, a plaintiff may rely on the

distinct “effects test” established by the Supreme Court in Calder y. Jones. Calder v. Jones,

465 U.S. 783 (U.S. 1984). Unlike the traditional specific personal jurisdiction inquiry —
focusing primarily on defendant’s contacts with the forum — the Calder “effects test”
prioritizes the location where the plaintiff suffered the brunt of the harm. Id. Specifically,
the Third Circuit instructs that the effects test requires a plaintiff to show the following:

(1) The defendant committed an intentional tort;

(2) The plaintiff felt the brunt of the harm in the forum such that the forum
can be said to be the focal point of the harm suffered by the plaintiff as a
result of that tort; and

(3) The defendant expressly aimed his tortious conduct at the forum such
that the forum can be said to be the focal point of the tortious activity.

Marten, 499 F.3d at 297. By satisfying these three elements, a plaintiff “can demonstrate a
court’s jurisdiction over a defendant even when the defendant’s contacts with the forum
alone are far too small to comport with the requirements of due process under [the]

traditional analysis.” Darien Rowayton Bank v. McGregor, 668 F.Supp.3d 324, 333 (M.D.

Pa. 2023) (quoting Marten, 499 F.3d at 297).

Preponderantly, this Honorable Court lacks general and specific personal
jurisdiction over them. Defendants have no continued and/or systematic contacts with
Pennsylvania, having literally no history of physical presence therein. (See ECF Doc. No.
16-1). Furthermore, Defendants’ collective contacts with Pennsylvania are so scant,

minimal and unfocused that they are tantamount to being “too small to comport with the

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requirements of due process under [the] traditional analysis”; put another way, Defendants’
contacts with Pennsylvania are so minimal that Defendants could not reasonably foresee
being sued in Pennsylvania. See Marten, 499 F.3d at 297; see also (ECF Doc. No. 16-1).
Admittedly, the only possible jurisdiction-type Plaintiff can employ here is effective
personal jurisdiction as outlined in Calder. Plaintiffs alleged claims here — defamation,
intentional interference with contractual relations, false light, and intentional infliction of

emotional distress ~ are intentional torts. See Staub v. Proctor Hosp., 562 U.S. 411, 417

(U.S. 2011). Defendants concede that the first Calder element has been met. However, the
remaining two remain problematic and unresolved for Plaintiff.

Plaintiff has failed to establish both that he “felt the brunt of harm in Pennsylvania”
and, most importantly, whether Defendants “expressly aimed their tortious conduct toward
Pennsylvania.” Calder, supra. “[T]he plaintiff has to demonstrate the defendant knew that
the plaintiff would suffer the brunt of the harm caused by the tortious conduct in the forum
and point to specific activity indicating that the defendant expressly aimed its tortious
conduct at the forum.” Marten, 499 F.3d at 297-98. Since Calder and its progeny,
communication over the internet has become a ubiquity of daily life, further contouring
personal jurisdiction such that a plaintiff must now show that defendant focused his actions
to Pennsylvania itself amd that plaintiff's specific damages exist therein. Id. Rather,
Defendants argue that their conduct was focused on Plaintiff himself, whose existence and
specific damages both exist online and unmoored from Pennsylvania soil. Accordingly,

Third Circuit precedent supports Rule 12(b)(2) dismissal.

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In Remick v. Manfredy, the Third Circuit affirmed its District Court’s dismissal of

plaintiff's complaint alleging defamation and other intentional tort claims for lack of
personal jurisdiction despite defendants’ letter addressed to plaintiff and published to third
parties in Pennsylvania based on plaintiffs failure to establish that defendants aimed their
conduct at Pennsylvania such that Pennsylvania was the focal point of the tortious activity.

Remick vy. Manfredy, 238 F.3d 248, 259 (3d Cir. 2001); see also, Hadnagy v. Moss, 2023

WL 114689 at *7 (E.D. Pa. 2023) (dismissing plaintiffs intentional tort complaint based on
lack of personal jurisdiction where defendant published a scathing review of plaintiff and
proposed ban of plaintiff to attend a tech seminar and holding that just because something is
published on the internet and becomes widely accessible and disseminated, including the

forum state, does not satisfy the third element of the Calder test); Mir v. Brod, 2022 WL

16639992 at *29 (E.D. Pa. 2022) (dismissing California and Florida defendants from
plaintiffs Federal lawsuit in Pennsylvania for lack of personal jurisdiction and failure to

show “purposeful direct[ion of their] activities.”); and Babyage.com, Inc. v. Center for

Environmental Health, 90 F.Supp.3d348, 354 (M.D. Pa. 2015) (dismissing plaintiff's

complaint for lack of personal jurisdiction finding defendant’s wrongful actions not
expressly aimed at Pennsylvania and “merely show|ing] that [defendant] has a legal dispute
with a Pennsylvania resident, which is insufficient as described in Walden”).

Like the defendant in the Babyage, Defendants simply have a dispute with Plaintiff as
a Pennsylvania resident. Plaintiff fails to articulate the existence of an actual “business” and
how his harm are both bound to Pennsylvania. Defendants advertise their film online — it’s

possible that hundreds of Pennsylvania eyes have discovered its existence, perhaps even

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purchased a copy. But that fact alone is not enough to establish personal jurisdiction. See,
supra. Plaintiff must establish both a focused aim towards Pennsylvania by Defendants and
that the “brunt” of Plaintiffs harm exists therein. Plaintiff can establish neither because
Defendants aimed and focused their publications at Plaintiff's omline followers in the QAnon
community. Plaintiffs damages, if any, are monetary, entangled with his number of
followers from all around the world. Additionally, Plaintiff has insufficiently articulated his
specific damages and how his ostensible injuries are tied to the forum state such that this
Honorable Court can exercise jurisdiction. As such, Plaintiff fails to establish the final two
(2) elements of the Calder test, necessitating his Complaint’s dismissal.

C. ASSUMING ARGUENDO PLAINTIFF CAN ESTABLISH JURISDICTION,
PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED PURSUANT TO RULE
12(B)(6) AS PLAINTIFF CANNOT ESTABLISH WRONGFUL CONDUCT,
CAUSATION OR SPECIFIC DAMAGES — TERNARY ELEMENTS OF EACH OF
PLAINTIFF’S QUINARY STATE-LAW TORT CLAIMS.

(1) Plaintiff's Defamation and False Light Claims Must be Dismissed
Because Plaintiff is Unable to Establish the Falsity of Defendants’
Alleged Wrongful Statements or Actual Malice, Admitting Same
Under Oath.

“Under Third Circuit jurisprudence, the Court must apply a two-step approach
when presiding over a defamation action. The Court must determine: ‘(1) whether the
defendants have harmed the plaintiff's reputation within the meaning of state law; and (2) if
so, whether the First Amendment nevertheless precludes recovery.” Mzamane v. Winfrey,
693 F.Supp.2d 442, 476 (E.D. Pa. 2010) (internal quotations omitted). A claim for

defamation under Pennsylvania law includes the following elements:

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(1) The defamatory character of the communication.

(2) Its publication by the defendant.

(3) Its application to plaintiff.

(4) The understanding by the recipient of its defamatory meaning.

(5) The understanding by the recipient of it as intended to be applied to the
plaintiff.

(6) Special harm resulting to the plaintiff from its publication. [and]

(7) Abuse of a conditionally privileged occasion.

42 Pa. C.S.A. § 8343(a); see also Graboff v. Colleran Firm, 744 F.3d 128, 135 (3d Cir.

2014) (internal citations omitted); Martin v. Finley, 349 F.Supp.3d 391, 423 (M.D. Pa.

2018). Once a plaintiff has established these elements, the defendant bears the burden of
proving:

(2) The truth of the defamatory communication.
(3) The privileged character of the occasion on which it was published. [or]
(4) The character of the subject matter of defamatory comment as of public

concern.

42 Pa. C.S.A. § 8343(b); Martin, 349 F.Supp.3d at 423.

Some communications, even if offensive or distasteful, do not rise to the level of

defamation because the law does not extend to mere insult. Emekekwue v. Offor, 26

F.Supp.3d 348, 359 (Pa. M.D. 2014) (citing Beverly Enters., Inc. v. Trump, 182 F.3d 183,
187 (3d Cir. 1999)). For example, expressions of opinion, without more, are not actionable.
Id. Likewise, “[s]tatements which are merely annoying or embarrassing or [are] no more
than rhetorical hyperbole or a vigorous epithet are not defamatory.” Beverly Enters Inc.,
182 F.3d at 187.

The tort of false light invasion of privacy is related to defamation. Pennsylvania has

adopted the Restatement (Second) of Torts standard, which “imposes liability on a person

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who publishes material that ‘is not true, is highly offensive to a reasonable person, and is

publicized with knowledge or in reckless disregard of its falsity.”” Graboff, 744 F.3d at 136

(internal quotations and citations omitted). See also Vogel v. W.T. Grant Co., 327 A.2d 133
(Pa. 1974). The torts false light invasion of privacy and defamation are sometimes difficult
to distinguish. False light has been described by some as “the right to be left alone,”

whereas defamation protects one’s interest in good reputation. Martin, 349 F.Supp. at 423

(internal quotations omitted); see also Graboff, 744 F.3d at 138 n.8.

Plaintiffs claims for Defamation (Count I), False Light Invasion of Privacy (Count IT)
and Defamation by Innuendo (Count V) must be dismissed for failure to state claims upon
which relief can be granted. Plaintiff cannot establish that Defendants’ publications were
tortious, directly caused his particular harm, or even the existence of an actual, physical
injury. Plaintiff's failure to plead credible evidence showing Defendants’ tortious conduct,
causation or specific damages — all three (3) necessary components of every common law
tort — doom each of his Complaint’s quinary tort claims. Regarding causation and specific
damages, Defendants adopt and incorporate Defendants’ Brief in Opposition to Plaintiff's
Motion for Preliminary Injunction filed simultaneously with this Brief pursuant to Rule
10(b) as if more fully set forth herein. (See ECF Doc. No. 20-1, generally). Summarily,
Plaintiff cannot show that Defendants’ specific conduct caused his alleged damages, having
occurred amidst dozens of other posted communications regarding Plaintiffs criminal

history which were later re-posted thousands of times. (Id.)

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As an admitted “public figure’™”

speaking about “matters of public concern,” Plaintiff
bears the burden to show, by clear and convincing evidence, the falsity of Defendants’

alleged defamatory statements and that Defendants published those statements with actual

malice. Phila. Newspapers. v. Hepps, 475 U.S. 767, 770 (U.S. 1986); McDowell v.

Paiewonsky, 769 F.2d 942, 947 (3d Cir. 1985); see also New York Times Co. y. Sullivan,

376 US. 254, 279-80 (U.S. 1964); Tucker v. Philadelphia Daily News, 848 A.2d 113, 127-

128 (Pa. 2004); and Dibella v. Hopkins, 403 F.3d 102 (2d Cir. 2005). The clear and

convincing evidence standard applies even at the summary judgment stage of a defamation

proceeding. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255-56 (US. 1986).

Regarding Defendants’ statements that Plaintiff is a “fraud, fraudster, a grifter,
[and/or] a criminal,” Plaintiffs own criminal record and respective pleas of “guilty” to
perjury, tampering with records and writing bad checks all constitute crimen falsi'’ such that
these statements are true for purposes of the torts of defamation and false light invasion of
privacy, admitted by Plaintiff himself where dismissal of each of these statements is

appropriate pursuant to Rule 12(b)(6) for lack of defamatory meaning. See, e.g., Reilly v.

North Hills News Record, 1998 WL 1113472 at *1 (W.D. Pa. 1998). The remaining

statements that constitute insults and/or opinions also bear no defamatory character and

should likewise be dismissed. Beverly Enters., Inc., 182 F.3d at 187; Emekekwue, 26

15 (See ECF Doc. No. 1 at { 2).
‘6 Crimen falsi is a crime (as perjury or fraud) involving deceit or falsification. See Merriam-Webster
Dictionary. (2024) (See ECF Doc. No. 16-2, 16-4 through 16-6).

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F.Supp.3d at 359. Therefore, the sole statement that concerns the court for purposes of
this section is: “Plaintiff had sex with Brienna when she was a minor”.

a. Statements Related to Plaintiff Having Sex With Brienna
When She was Fifteen (15) Years-Old

Plaintiff claims Defendants’ statements about him having sex with a minor and being
a “Pedo, a Pedophile, a [...] criminal, sexual groomer of minors and a convicted pedophile”
are false. (See ECF Doc. No. 1 at 91). These statements, and their different iterations, all
derive from the claim that Plaintiff, while he was twenty-five (25) years old, engaged ina
sexual relationship with a minor leading to criminal conviction. If Plaintiff cannot prove by
“clear and convincing evidence” that Defendants published this statement with either
knowledge of its falsity or reckless disregard of same, then there cannot be any liability to
Defendants. See supra. Plaintiff must do so by showing that Defendants “entertained

serious doubts as to the truth of [their] publication,” St. Amant v. Thompson, 390 U.S. 727,

731, (U.S. 1968), or “subjective awareness of probable falsity.”, McDowell v. Paiewonsky,
769 F.2d 942, 951 (3d Cir. 1985). Absent this showing of actual malice, no liability lies for
any counts in defamation or false light invasion of privacy. Id.

The following facts are undisputed and part of the public record in the Times-

Tribune Lawsuit!”: (1) the Lackawanna County District Attorney’s Office arrested Plaintiff

on July 9, 2010 pursuant to an eight (8) count Criminal Complaint'®; (2) on November 12,

17 District Courts may take judicial notice of any matter of public record including court documents,
pleadings and related exhibits filed in a plaintiff's other lawsuit stemming from similar facts and
circumstances. See Oran v. Stafford, 226 F.3d 275, 288 (3d Cir. 2000); Fed. R. E. 201(b).

'8 (See ECF Doc. No. 16-4 and 16-7).

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2010, Plaintiff pled guilty to a charge of “corruption of minors,”"””

acknowledging the
allegations contained in the criminal complaint each involving inappropriate sexual contact
with Brienna”; (3) detectives at the time said Plaintiff had sex with Brienna in cars and
houses which were up for sale”’; and (4) Plaintiff admitted he did in fact corrupt the morals
of Brienna and had sex with her after she was of legal age.” Plaintiffs only contention of
fact is that he mever had sex with Brienna before she reached the age of legal consent.
Brienna executed an Affidavit stating she was in a sexual relationship with Plaintiff
when she was 15 and he was 25. (See ECF Doc. No. 16-10). Brienne also testified that she
engaged in several textual messages with Plaintiff during this time where Plaintiff references
sex with her over 25 times and that he loves her over 100 times. (See ECF Doc. No. 16-11,
generally). Plaintiff admits in his sworn deposition that he’s known Brienna since 2009, had
sex with her when she was 19, and admits “I can’t prove that something didn’t happen in
this case.” (See ECF Doc. No. 16-10 at pp. 212—213 and 251—252). He also testified, “I
can’t prove a negative” and “I don’t have to prove anything,” when questioned about sex
with 15-year-old Brienna. (Id. at p. 252). In that same deposition, Plaintiff concedes his

corruption charge was for having sex with a minor child and, according to that same guilty

plea, admitted to “doing” the things he was “charged with”. (Id. at pp. 228; 235-241).

1° (Id.) 18 Pa. C.S.A. § 6301 was amended effective December 6, 2010 to include a new section,
specifically (a)(1)(ii) relating to sexual offenses and Plaintiff could not be charged under this new section
since it was not enacted at the time of his conduct or arrest; instead, law enforcement charged Plaintiff
under § 6301(a)(1) for sexual related conduct.
20

(Id.)
21 (See ECF Doc. No. 16-14).
22 (See ECF Doc. No. 16-4 and 16-7).

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Assuming all well-pleaded facts contained in Plaintiffs Complaint as true for
purposes of this Brief, Plaintiff has not, and cannot, establish that Defendants either
“entertained serious doubts as to the truth” of their publications or had “subjective
awareness of [their] probable falsity.” St. Amant, 390 U.S. at 731; McDowell, 769 F.2d at
951. On the contrary, the exact opposite is true. Plaintiff admits that Defendants knew
about the materials submitted in the Times-Tribune Lawsuit and used them when
publishing the alleged wrongful statements. (ECF Doc. No. 1 at 7] 13—18, and 42).
Plaintiff further admits that Defendants’ film contains “much of” of same information
revealed in that case and often quotes, verbatim, from that very same record. (Id. at {] 18).
Defendant’s sworn testimony underscores Plaintiff's admissions of fact. (See ECF Doc. No.
16-1). The only “evidence” of falsity of this statement comes from Plaintiff's own mouth,
existing somewhere between his thread-bare denials and hazy, unsupported challenges to
the authenticity of the textual messages back in 2010. (ECF Doc. No. 1 at {J 22, 26, and
36).

Moreover, Plaintiffs allegations of actual malice contained in his Complaint are
scant, amounting to an ostensible lack of proper investigation and personal animus towards
Plaintiff on part of the Defendants. (ECF Doc. No. 1 at 9] 13, 25, 40 and 41). Even
pretending both are true, neither are enough to meet Plaintiff's burden. A failure to
investigate, without more, is not sufficient to show actual malice; neither is a defendant’s

personal feelings toward plaintiff. See Tucker v. Fischbein, 237 F.3d 275, 286 (3d Cir. 2001);

Mallory v. S & S Publishers, 260 F.Supp.3d 453, 464 (E.D. Pa. 2017). Plaintiff's evidence is

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insufficient and no further discovery is likely to move the needle.” The Court, assuming all
Plaintiffs alleged facts are true, including that Plaintiff never had sex with Brienna while she
was a minor, must answer one question: whether it is possible that Defendants, having
knowledge of all information related to the Times-Tribune Lawsuit prior to publishing any
allegedly wrongful statements, had subjective awareness of their probable falsity? Defendants
argue that the answer to that question is “no”; it is impossible for Plaintiff to meet his
burden in this specific case. Plaintiff apparently agrees.* Therefore, dismissal of Counts I,
II and V is proper as a matter of law.

(2) Plaintiff's Tortious Interference with Contractual Relations and
ITED Claims Must Both Be Dismissed for Failure to Establish the
Essential Ternary Elements of Each Tort — Wrongful Conduct,
Causation and Damages.

Defendants adopt and incorporate their arguments related to causation and damages
as set forth in their Brief in Opposition to Plaintiff's Motion for Preliminary Injunction filed
simultaneously with this Brief as though set forth herein at length. (ECF Doc. No. 20-1).
Plaintiff has established no present or future contractual or economic relationship between
himself and a third-party, having failed to specifically cite to his “business” at all.
Furthermore, Defendants’ statements and publications are privileged and protected
pursuant to the First Amendment. Finally, Defendants’ statements are not so “extreme and
outrageous” in the context of this case to warrant an ITED claim for unspecific damages. As

such, Counts III and IV should be dismissed as a matter of law, with prejudice.

23 Plaintiff has had two (2) whole years in the Times-Tribune Lawsuit to come up with substantial evidence
supporting his theory of the case; namely, that Brienna is lying.
24 (See ECF Doc. No. 16-10, supra).

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To establish a claim for tortious interference with business relations under
Pennsylvania law, a plaintiff must show:

(1) the existence of a contractual or prospective contractual or economic
relationship between the plaintiff and a third party; (2) purposeful action by
the defendant, specifically intended to harm an existing relationship or
intended to prevent a prospective relation from occurring;; (3) the absence of
privilege or justification on the part of the defendant; and (4) legal damage to
the plaintiff as a result of the defendant’s conduct; and (5) for prospective
contracts, a reasonable likelihood that the relationship would have occurred

but for the defendant’s interference.

Acumed LLC vy. Advanced Surgical Servs., Inc., 561 F.3d 199, 212 (3d Cir. 2009).

Specifically, the relationship — prospective or existing — must be “of some substance,
some particularity, before an inference can arises to its value to the plaintiff and the

defendant’s responsibility for its loss.” LM. Wilson, Inc. v. Otvetstvennostyou “Grichko,”

500 F.Supp.3d 380, 426 (E.D. Pa. 2020) (quoting Int’]| Diamond Importers, Ltd. v.

Singularity Clark, L.P., 40 A.3d 1261, 1275 n. 14 (Pa. Super. 2012)). For prospective

relations, a plaintiff should plead “additional facts to show ‘an objectively reasonable
probability that [a prospective relationship would] come into existence.” Id. (quoting
Kernaghan v. BCI Comm., Inc., 802 F.Supp.2d 590, 592 n.1 (E.D. Pa. 2011)).

Nowhere in Plaintiffs Complaint does he allege the existence of any portended
current or future contractual or business relationship other than mentioning that
Defendants’ allegedly wrongful statements placed his “business in jeopardy.” (See ECF
Doc. No. 1 at $16). Without more, Plaintiff's claim for Tortious Interference with Business

Relations must be dismissed as a matter of law. See Thompson Coal Co, v. Pike Coal Co.,

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412 A.2d 466, 471 (Pa. 1979) (dismissing plaintiff's claim for failure to “set forth any
contract right on [plaintiffs’] part which was injured through the actions of [the

defendant]”); see also Wurth Baer Supply Co., v. Strouse, 627 F.Supp.3d 422 (M.D. Pa.

2022); Rototherm Corp. v. Penn Linen & Uniform Service, Inc., 1997 WL 419627 (E.D. Pa.

1997); Advanced Power Sys., Inc. v. Hi-Tech Sys., Inc. v Hi-Tech Sys., Inc., 801 F.Supp.

1450, 1459 (E.D. 1992) (“The complaint must allege facts that, if true, would give rise to a
reasonable probability that particular anticipated contracts would have been entered into.”);

and Multitherm Corp. v. Fuhr, 1991 WL 146233, at *22 (E.D. Pa. 1991).

Furthermore, even assuming Plaintiff has established some portended business
relationship, Defendants’ conduct as alleged by Plaintiff in the Complaint is constitutionally
privileged by the First Amendment as “speech on matters of public concern” and “public

figures” and therefore not recoverable under Pennsylvania law. See Snyder v. Phelps, 562

U.S. 443, 451 (U.S. 2011); Azzaro v. Cnty. Of Allegheny, 110 F.3d 968, 978 (3d Cir. 1991);

see also, Tannous v. Cabrini University, 2023 WL 6465842 at *10 (E.D. Pa. 2023); Neish v.

Beaver Newspapers, Inc., 581 A.2d 619, 625 (Pa. Super. 1990); and Jones v. City of

Philadelphia, 73 Pa. D. & C.4™ 246, 273 (Phila. Co. Ct. Com. Pls. 2005). As such, Count III
of Plaintiffs Complaint must be dismissed as a matter of law.

To state a claim for IIED under Pennsylvania law, the plaintiff must allege
“intentional outrageous or extreme conduct by the defendant, which causes severe

emotional distress to the plaintiff” and “some type of resulting physical harm due to the

defendant’s conduct.” Davis v. Wigen, 82 F.4 204, 216 (3d Cir. 2023) (quoting Swisher v.

Pitz, 868 A.2d 1228, 1230 (Pa. Super. 2005)). When a party seeks to dismiss a claim for

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ITED “upon demurrer, the appropriate legal standard to be applied in reviewing the claim is
whether the [pleading] sufficiently pleads the claim in a manner that corresponds ‘at a
minimum’ with the provisions of the Restatement (Second) of Torts § 46(1).” Toney v.

Chester County Hospital, 961 A.2d 192, 201 (Pa. Super. 2008), aff'd, 36 A.3d 83 (Pa.

2011); Reardon v. Allegheny College, 929 A.2d 477, 487 n. 12 (Pa. Super. 2007), app.

denied, 947 A.2d 738 (Pa. 2008).

Given that the definition of “outrageousness” is subjective and nebulous the
availability of recovery of ITED is “highly circumscribed.” Gray v. Huntzinger, 147 A.2d
924, 927-928 (Pa. Super. 2016) (internal quotation omitted). The type of conduct required
to support an ITED claim “must be so outrageous in character, and so extreme in degree, as
to go beyond all possible bounds of decency, and to be regarded as atrocious and utterly
intolerable in a civilized society.” Davis, 82 F.4" at 216 (quoting Hoy, 720 A.2d at 754).

“(I]t has not been enough that the [tortfeasor] has acted with intent which is tortious or even
criminal, or that he has intended to inflict emotional distress, or even that this conduct has
been characterized by ‘malice’ or a degree of aggravation that would entitle the [claimant] to
punitive damage for another tort.” Hoy, 720 A.2d at 754. Potential liability for IIED
“clearly does not extend to mere insults, threats, annoyances, petty oppressions, or other
trivialities,” and claimants “must necessarily be expected and required to be hardened to a
certain amount of rough language, and to occasional acts that are definitely inconsiderate
and unkind,” since “[t]here is no occasion for the law to intervene in every case where
[someone’s] feelings are hurt.” Gray, 147 A.3d at 927, n. 1 (quoting Restatement (Second) of

Torts § 46, comment d).

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Consequently, instances of abhorrent and malevolent conduct have been deemed
insufficient as a matter of law to sustain a claim for ITED. See, e.g., Hoy, 720 A.2d at 754;

Piazza v. Young, 403 F.Supp.3d 421 (Pa. M.D. 2019); Miller v. Peraino, 626 A.2d 637, 641

(Pa. Super. 1993). Additionally, plaintiff must provide competent medical evidence to

prove the existence of emotional distress in order to prevail on an ED cause of action.

Doe v. Liberatore, 478 F.Supp.2d 742, 765 (Pa. M.D. 2007) (citing Kazatsky v. King David

Memorial Park, Inc., 527 A.2d 988, 995 (Pa. 1987)).

In the instant matter, assuming that Defendants’ conduct is not constitutionally
privileged and protected by the First Amendment, Defendants’ statements as alleged in
Plaintiff's Complaint and in the context of this particular case simply do not rise to the level
as to “be so outrageous in character, and so extreme in degree, as to go beyond all possible

bounds of decency, and to be regarded as atrocious and utterly intolerable in a civilized

society.” Davis, 82 F.4" at 216 (quoting Hoy, 720 A.2d at 754). See Cox v. Keystone

Carbon Co., 861 F.2d 390, 395 (3d Cir. 1988); Williams v. Roc Nation, LLC, 2020 WL

6158242 at *7 (E.D. Pa. 2020) (granting documentary filmmaker defendants’ motion to
dismiss plaintiff's ITED claim despite allegations of alleged lewd and lascivious comments

including “dirty, corrupt, immoral, and dishonest”); Cheney v. Daily News, L.P., 102

F.Supp.3d 708, 718 (E.D. Pa. 2015) (granting newspaper defendant’s motion to dismiss
firefighter plaintiff's IED claim based on alleged lewd and lascivious conduct and alleged
sex scandal).

Assuming Plaintiff has met the threshold requirement and shown “extreme and

outrageous conduct” by Defendants, Plaintiffs IED count should be dismissed for failure

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to adequately articulate his actual, physical damages due to Defendants’ alleged wrongful

comments. See Hines v. Proper, 442 F.Supp.2d 216, 224 (M.D. Pa. 2006). For those

reasons, and the reasons adopted and argued in Defendants’ Motion for Preliminary
Injunction, Defendants respectfully request that this Honorable Court dismiss Count IV of
Plaintiffs Complaint, with prejudice.

D. ALTERNATIVELY, PARAGRAPHS 41, 44 AND 53—63 INCL. MUST BE
STRICKEN FROM PLAINTIFF’S COMPLAINT AS IMMATERIAL, SCANDALOUS
AND/OR IMPERTINENT.

The burden rests with the moving party to show that the challenged matter should
be stricken by demonstrating that the matter falls within one of the categories listed in Rule
12(f). Roamingwood Sewer & Water Assoc., 509 F.Supp.3 at 204. “Immaterial” matter is

that which “has no essential or important relationship to [any] claim|[s] for relief.” Id. (céteng

Wagner v. Holtzapple, 101 F. Supp. 3d 462, 488 (M.D. Pa. 2015). “Impertinent” matter
consists of “statements that do not pertain, and are not necessary, to the issues 1n question,”

and “scandalous” matter is that which “casts a derogatory light on someone, uses repulsive

language, or detracts from the dignity of the court.” Id. (citimg Carone v. Whalen, 121 F.R.D.
231, 232 (M.D. Pa. 1988)).

Paragraphs 41, 44 and 53—63 (including Exhibit “4”) of Plaintiffs Complaint are
crass and neither importantly relate nor pertain to Plaintiff's quinary claims for relief;
therefore, Paragraphs 41, 44 and 53—63 zncl. (including Exhibit “4”) should be stricken
pursuant to Rule 12(f) as immaterial, scandalous and/or impertinent. Defendants’ prior

criminal record, business ventures and the success and/or failures of same have absolutely

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nothing to do with the allegations contained in Plaintiffs Complaint, are irrelevant pursuant
to Federal Rule of Evidence 401, and believed to have been stated for the sole purpose of
annoyance. As such, those paragraphs should be stricken from Plaintiffs Complaint,
including Exhibit “4”.

V. CONCLUSION

Plaintiff's Complaint should be dismissed on the ternary grounds argued above: (1)
pursuant to Rule 12(b)(2) because this Honorable Court lacks personal jurisdiction over
Defendants; or pursuant to Rule 12(b)(6) because (2) admittedly, Plaintiff cannot meet his
burden establishing the wrongfulness of Defendants’ statements and publications cited in
his Complaint; and (3) Plaintiff has failed to establish causation and recoverable injury of
each of his quinary state-law tort claims. If this Honorable Court does not dismiss Plaintiff's
Complaint on the basis of jurisdiction agrees with Defendants that the answer to the central
question posed herein is “no” — that it is nigh-impossible for Plaintiff to establish that
Defendants had subjective knowledge of falsity of their statements despite the wealth of
information, most of it admission by Plaintiff himself — then Plaintiffs Complaint should be

dismissed pursuant to Rule 12(b)(6).

Respectfully Submitted,
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ATTORNEYS FOR DEFENDANTS

What do you love about the law, Andrew?
I... Many things. What do I love most about the law?
Yes.

It’s that every now and again, not often, but occasionally, you get to be a
part of justice being done. That really is quite a thrill when that happens.

S(O SIS

PHILADELPHIA (Jonathan Demme dir. 1993) (emphasis added).

Date: April 10, 2024

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Attorneys for the Defendants

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PHILIP GODLEWSKI,

Plaintiff,
v.

EDUARDO NICOLAS ALVEAR
GONZALEZ, 4KA ALVEAR GONZALEZ
EDUARDO NICOLAS, AKA
NICOLAS ALVEAR; and
GOOD LION TV, LLC,

Defendants

CIVIL ACTION—LAW & EQUITY
(HON. JULIA K. MUNLEY)

JURY TRIAL DEMANDED

No.: 3:24—CV—00344

CERTIFICATE OF COMPLIANCE

I, Ryan P. Campbell, Esquire, on behalf of Defendants, do hereby certify that I

performed a word-count on the above Brief using Microsoft® Word Version 16.83 (2024)

and that the above-captioned document contains 8,458 words, excepting captions, signatory

lines and Certificates of Compliance and Service, respectively. As such, this filing complies

with this Honorable Court’s April 9, 2024 Order Authorizing the filing of same.

ROTHENBERG & CAMPBELL

By:
v
Sf Ry en P. Campbell, Esquire \
ATTORNEY FOR DEFENDANTS

Date: April 10, 2024

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Attorneys for the Defendants

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PHILIP GODLEWSKI,

Plaintiff,
V.

EDUARDO NICOLAS ALVEAR
GONZALEZ, 4KA ALVEAR GONZALEZ
EDUARDO NICOLAS, 4KA
NICOLAS ALVEAR; and
GOOD LION TV, LLC,

Defendants

CIVIL ACTION—LAW & EQUITY
(HON. JULIA K. MUNLEY)

JURY TRIAL DEMANDED

No.: 3:24—CV—00344

CERTIFICATE OF SERVICE

I, Ryan P. Campbell, Esquire, on behalf of Defendants, do hereby certify that I sent a

true and accurate copy of Defendants’ Brief in Support of their Motion to Dismiss Plaintiff's

Complaint with appended Exhibits in the above-captioned case on this 10“ day of April,

2024 to the below named individuals via ECF and Electronic Mail addressed as follows:

‘Timothy M. Kolman, Esq.
e. tkolman@kolmanlaw.com
ATTORNEYS FOR PLAINTIFF

Date: April 10, 2024

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